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   6                        UNITED STATES BANKRUPTCY COURT

   7                            FOR THE DISTRICT OF ARIZONA

   8 In re                                       Chapter 11 Subchapter V
   9 NEDDY, LLC, DBA FORTRESS                    Case No. 2:25-bk-01459-BKM
  10 ASPHALT,                                    EMERGENCY MOTION FOR INTERIM
  11                Debtor.                      AND FINAL ORDER AUTHORIZING
                                                 DEBTOR TO USE CASH
  12                                             COLLATERAL
  13

  14         Neddy, LLC dba Fortress Asphalt, Debtor and Debtor-in-Possession (“Debtor”),
  15 hereby requests entry of interim and final orders authorizing Debtor to use cash collateral,

  16 pursuant to the budget (the “Budget”) set forth in Exhibit 1 attached hereto. Debtor

  17 believes one or more hard money lenders may claim to have a first lien position on the

  18 cash collateral. This Motion is brought on an emergency basis seeking an accelerated

  19 hearing, pursuant to Local Bankruptcy Rule 9013-1(i), in order to avoid immediate and

  20 irreparable harm to Debtor’s estate.

  21
               The relief requested in this Motion would authorize the Debtor to use cash
  22           collateral to pay the operating expenses in the ordinary course and to grant
  23           the first priority existing lender a replacement lien to the extent of its
               interest in the cash collateral as of the Petition Date.
  24

  25         An Interim Order is necessary to prevent immediate and irreparable harm to
  26 Debtor due to the immediate and serious cash needs of Debtor prior to a date on which a

  27 Final Hearing can be held on these matters. Debtor requires an immediate order of this

  28 Court authorizing it to use cash collateral to pay all of Debtor’s normal and ordinary

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   1 operating expenses (such as payroll including compensation to personnel, utilities,

   2 vehicle payments, and materials, goods and supplies) as will come due in the ordinary

   3 course of Debtor’s business in order to preserve the going concern value of its business,

   4 assets and reorganization efforts.

   5         The Motion is supported by the following Memorandum of Points and Authorities,
   6 the Declaration of Michael Blake Linthicum in Support of Debtor’s First Day Motions

   7 (the “First Day Declaration”), the Budget attached hereto as Exhibit 1, and the entire

   8 record before the Court in this Bankruptcy Case, all of which is incorporated herein by

   9 this reference.

  10                   MEMORANDUM OF POINTS AND AUTHORITIES
  11 I.      BACKGROUND AND JURISDICTION
  12         1.     On February 22, 2025 (the “Petition Date”), the Debtor filed its voluntary
  13 petition for relief under chapter 11, subchapter V of Title 11 of the United States Code

  14 (the “Bankruptcy Code”) in the United States bankruptcy Court for the District of

  15 Arizona. The Debtor continues to operate its business and manage its assets as a debtors-

  16 in-possession in accordance with §§ 1107 and 1108 of the Bankruptcy Code. No request

  17 has been made for the appointment of a trustee or examiner in this case other than the

  18 appointment of a Subchapter V Trustee.

  19         2.     The Court has jurisdiction over this bankruptcy case under 28 U.S.C.
  20 §§ 157 and 1334. This is a core proceeding under 28 U.S.C. § 157(b)(2). Venue is proper

  21 in this district pursuant to 28 U.S.C. § 1409(a).

  22         3.     The statutory predicates for the relief requested are 11 U.S.C. §§ 105(a) and
  23 363, and Local Bankruptcy Rule 4001-2.

  24 II.     FACTUAL BACKGROUND.
  25         4.     Debtor is an Arizona limited liability company formed on or about August
  26 4, 2022, under the laws of the State of Arizona. Its sole manager is Michael Blake

  27 Linthicum. Michael Blake Linthicum has a 85% membership interest in the Debtor and

  28

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   1 Nancy Linthicum, the aunt of Michael Blake Linthicum, owns the remaining 15%

   2 membership interest.

   3             5.     Debtor is engaged in the business of asphalt paving, painting, sealing and
   4 repair including seal coating, crack and mastic sealing, and pavement maintenance.

   5 Debtor includes a number of cities and towns among its customers including Phoenix,

   6 Peoria, Surprise, Carefree, Litchfield Park, Glendale, Avondale, Goodyear, El Mirage,

   7 Buckeye, and Sun City. Debtor currently operates out of leased premises located at 9299

   8 W. Olive Ave., Ste 306, Peoria, AZ 85345.

   9             6.     Additional factual background regarding the Debtor, including its current
  10 and historical business operations and the events precipitating its chapter 11 filing is set

  11 forth in detail in the First Day Declaration filed contemporaneously with this Motion and

  12 incorporated herein by this reference.

  13             7.     Debtor believes and asserts that all of Debtor’s cash collateral is secured by
  14 a security interest in favor of The Huntington Bank (“Huntington”) pursuant to UCC-1’s

  15 filed with the Arizona Secretary of State on August 16, 2023, as Instrument No. 2023-

  16 004-0880-9 and on August 16, 2023, as Instrument No. 2023-004-0986-3. Huntington is

  17 owed approximately $493,910 as of the Petition Date. 1

  18             8.     Financial Pacific Leasing has a security interest in certain leased equipment
  19 pursuant to a UCC filed with the Arizona Secretary of State on May 14, 2024, as

  20 Instrument No. 2024-002-1876-4. This is unaffected by the request to use cash collateral.

  21             9.     Other parties may claim an interest in Debtor’s cash collateral including the
  22 following:

  23                    a.      Good Funding, LLC
                                PO Box 252
  24                            Midvale, UT 84047
  25                            2100 W. Orangewood Ave.
                                Suite 205
  26                            Orange, CA
  27

  28   1
           Huntington is owed an additional $49,500 on a line of credit loan.

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                            Phone: 888.914.3576
   1
                            E-mail: info@goodfunding.com
   2

   3 There is no UCC on file for Good Funding, LLC.

   4                b.      Headway Capital
                            175 W. Jackson Blvd.
   5                        Suite 1000
   6                        Chicago, IL 60604
                            Phone: 866.698.8494
   7                        E-mail: support@headwaycapital.com
   8 There is no UCC on file for Good Funding, LLC.

   9                c.      Unspecified Lender
                            UCC-1 filed with the Arizona Secretary of State on 12.31.24
  10
                            Instrument No. 2024-005-4129-7
  11                        Corporate Service Company as Representative
                            PO Box 2576
  12                        Springfield, Illinois 62708
  13                        E-mail: uccsprep@cscinfo.com

  14         10.    Debtor believes and asserts that Huntington has a valid first priority security
  15 interest in the cash collateral and that all other parties are under secured and junior to the

  16 Huntington.

  17 III.    RELIEF REQUESTED
  18         A.     Debtor Should be Authorized to Use Cash Collateral to Operate,
                    Maintain and Preserve its Business.
  19

  20         A debtor in possession has all of the rights and powers of a trustee with respect to

  21 property of the estate, including the right to use property of the estate in compliance with

  22 § 363 of the Code See 11 U.S.C. § 1107(a). A debtor in possession may use cash

  23 collateral, pursuant to 11 U.S.C. § 363(c) & (e), if all persons holding an interest in that

  24 cash collateral either consent to such use or are “adequately protected.”

  25         Section 363 of the Code defines cash collateral to include cash, bank accounts, and

  26 proceeds from accounts receivables subject to a security interest. In the present case, the

  27 Debtor possesses cash collateral from receipts generated from its operations and needs to

  28 use it to pay operating and bankruptcy administrative expenses as set forth in the detailed

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   1 Budget, Exhibit 1. The Debtor has no unencumbered funds with which to pay such

   2 expenses and if such expenses are not paid, the Debtor will be unable to continue its

   3 business operations.

   4         Section 363(c)(2) provides that a debtor in possession may use “cash collateral”
   5 under section (c)(1) if:

   6         (A)    Each entity that has an interest in such cash collateral consents; or
   7         (B)    The Court, after notice and a hearing, authorizes such use, sale or lease in
   8                accordance with the provisions of this section.

   9 11 U.S.C. § 363(c)(2)(A) and (B). Case law is clear that a Chapter 11 debtor may use cash

  10 collateral for the purpose of maintaining and operating its property. See, e.g. In re Tucson

  11 Industrial Partners, 129 B.R. 614 (9th Cir. BAP 1991). Here the Debtor is an operating

  12 business entity whose going concern value must be maintained in order for the company

  13 to preserve and maximize its value for all creditors and parties in interest.

  14         B.     SBA is Adequately Protected, and Therefore, the Court Should
                    Authorize Use of Cash Collateral.
  15

  16         Pursuant to Section 363(c)(2), the Court may authorize the debtors to use a

  17 secured creditor's cash collateral if the secured creditor is adequately protected. See

  18 In re Mellor, 734 F.2d 1396 (9th Cir. 1984). Courts have found that a secured creditor

  19 is adequately protected where the value of its collateral is not declining over time or

  20 there is a sufficient equity cushion. See United Savings Ass'n of Texas v. Timbers of

  21 Inwood Forest Assoc. Ltd., 484 U.S. 365, 370, 108 S.Ct. 626 (1988); In re Phoenix

  22 Steel Corp., 39 B.R. 218,224 (D. Del. 1984) (finding that a creditor's security is not

  23 impaired where a significant equity cushion exists); In re Dynaco Corp., 162 B.R. 389,

  24 394 (Bankr. D.N.H. 1993) (finding that a secured creditor was adequately protected

  25 where the level of its collateral was not declining). Courts have further found equity

  26 cushions of ten percent (10%) to be sufficient adequate protection. See In re Mellor,

  27 734 F.2d 1396, 1401 (9th Cir. 1984), citing In re McGowan, 6 B.R. 241,243 (Bankr.

  28 E.D.Pa.1980) (holding a 10% cushion is sufficient to be adequate protection).

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   1 Pursuant to 11 U.S.C. § 361, adequate protection may also be provided by a

   2 replacement lien. In re Center Wholesale, Inc., 159 F.2d 1440, 1450 (9th Cir. 1985);

   3 In re Swede/and Dev. Group, Inc., 16 F.3d 552,564 (3d Cir. 1994); In re Beeker

   4 Industries Corp,, 58 B.R. 725 (Bankr. S.D.N.Y. 1986).

   5         Section 363(p) provides, "[i]n any hearing under this section - (1) the trustee
   6 has the burden of proof on the issue of adequate protection; and (2) the entity asserting

   7 an interest in property has the burden of proof on the issue of validity, priority, or

   8 extent of such interest." 11 U.S.C. § 363(p). Furthermore, under 11 U.S.C. § 506(a),

   9 a creditor generally bears the burden of proving the amount, secured status and extent

  10 of its lien. In re Sneijder, 407 B.R. 46, 55 (Bankr. S.D.N.Y. 2009); see also In re

  11 Richard Buick, Inc., 126 B.R. 840, 851 (Bankr. E.D. Pa. 1991) ("Throughout the

  12 Code, the burden of proving the 'validity, priority, and extent' of security interests lies

  13 upon the creditors asserting such interests."). Although the Third Circuit applied a

  14 burden-shifting framework in In re Heritage Highgate, Inc., it held that the creditor

  15 bears "the ultimate burden of persuasion ... to demonstrate by a preponderance of the

  16 evidence both the extent of its lien and the value of the collateral securing its claim."

  17 In re Heritage Highgate Inc., 679 F.3d 132, 139 - 140 (3d Cir. 2012) (quoting In re

  18 Robertson, 135 B.R. 350, 352 (Bankr. E.D. Ark. 1992)).

  19         In this case, Huntington will be provided with adequate protection by granting it a
  20 replacement lien on all receivables and receipts generated post-petition, to the same

  21 nature, extent and priority of its pre-petition lien. The granting of replacement liens on

  22 new accounts generated by the Debtor's use of cash collateral is a common method of

  23 providing adequate protection. In re Wrecclesham Grange, Inc., 221 B.R. 978, 981

  24 (Bankr. N.D. Florida 1997); In re Barkley AAA Investors, Ltd. 175 B.R. 755 (Bankr. D.

  25 Kansas 1994). By granting the Huntington replacement liens, the Debtor will provide

  26 adequate protection of the Huntington’s claimed security interest in accordance with the

  27 requirements of the Bankruptcy Code.

  28 / / /

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   1         Any funds allegedly constituting cash collateral will be used by Debtor only
   2 pursuant to the Budget set forth in Exhibit 1 attached hereto. The Budget may be amended

   3 from time to time with the consent of Huntington or approval of the Court, after notice

   4 and hearing. Without amending the Budget, Debtor may pay expenses that exceed the

   5 amounts in the Budget if, for the period beginning on the Petition Date and ending on the

   6 date of the payment, Debtor's total payments for expenses in that period do not exceed by

   7 more than ten percent (10%) the total amount of payments for expenses contemplated

   8 under the entire Budget for that period.

   9         WHEREFORE, the Debtor respectfully request that this Court enter an Interim
  10 Order and a Final Order, as follows:

  11         1.    Granting this Motion for Interim and Final Order Authorizing the Use
  12 of Cash Collateral;

  13         2.    Authorizing the Debtor use of cash collateral upon the terms and conditions
  14 described herein retroactive to the Petition Date in order to avoid immediate and

  15 irreparable harm to Debtor pending a Final Hearing on this Motion; and

  16         3.    Authorizing the granting of replacement of liens retroactive to the Petition

  17 Date against all accounts receivables and receipts, and any and all proceeds created by

  18 the operation of Debtor’s business.

  19         4.    Granting such further relief as is just and proper under the circumstances.

  20         RESPECTFULLY SUBMITTED this 22nd day of February 2025.

  21                                        BURCH & CRACCHIOLO, P.A.

  22
                                            By /s/ Alan A. Meda (#009213)
  23                                           Alan A. Meda
                                               Proposed Attorneys for Debtor
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                Exhibit 1

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                 Date                      Feb-25         Mar-25        Apr-25      May-25
                       Fixed Expenses
                                Salaries   -$4,028        -$16,113     -$16,113     -$16,113
                         Huntington 7A               $0      -$7,500      -$7,500      -$7,500
                       Huntington LOC                $0
                            Ford Leases              $0     -$5,982      -$5,982      -$5,982
     Business Owners (Liability) (CNA)               $0       -$325        -$325        -$325
         Commercial Umbrella (CAN)                   $0       -$202        -$202        -$202
          Commercial Auto (Travelers)                $0     -$1,286      -$1,286      -$1,286
                 Current Building Lease              $0
                       New Yard Lease                $0          $0      -$1,800      -$1,800
                         Sales Expense               $0       -$800        -$800        -$800
       Forklift Lease (Pacific Finance)              $0
                       Phone (Verizon)               $0          $0           $0           $0
                         Life Insurance              $0          $0           $0           $0
                              Marketing              $0     -$2,500      -$2,500      -$2,500
                    Google Workspace                 $0       -$150        -$150        -$150
                    QuickBooks Payroll               $0       -$184        -$184        -$184
                     Cintas (Uniforms)               $0       -$740        -$740        -$740

                              EverLine
                           Goodfunding
                        Headway Capital

                  Sum Fixed Expenses         -$4,028       -$35,782     -$37,582     -$37,582

                   Variable Expenses
                   Fuel (Christensen)             $0             $0           $0           $0
                         Hourly Labor        -$7,500       -$23,747     -$11,873           $0
                          Perishables             $0        -$1,400        -$700           $0
                            Materials             $0        -$4,500      -$3,750     -$12,500
                    DitchWitch (Pape)             $0        -$3,800      -$1,900           $0
                    Car Wash (SSWC)               $0          -$100        -$100        -$100
          Bank of America Credit Card             $0
             UNREALIZED EXPENSES

                               CapEx
                Debt Payout Schedule
               Sum Variable Expenses         -$7,500       -$33,547     -$18,323     -$12,600

                                           Feb-25         Mar-25        Apr-25      May-25
Bankruptcy Professionals                                    $0            $0          $0
L&B CPAS                                             $0   -$400         -$400       -$400
Sales Consultant                                            $0            $0          $0


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Federal Procurement                        $0    -$1,500     -$1,500    -$1,500

      Professional Employee(s)        $0         -$1,900     -$1,900    -$1,900

                                     Feb-25      Mar-25      Apr-25     May-25
Total Expenses                        -$11,528    -$71,228   -$57,805    -$52,082




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